     Case 1:15-cr-00046-LJO-SKO Document 132 Filed 01/04/18 Page 1 of 2



 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     CHRISTINA MARTINEZ
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,           )                 No. 1:15-cr-00046 LJO-SKO-1
                                         )
12               Plaintiff,              )                 STIPULATION TO CONTINUE
                                         )                 SENTENCING AND ORDER
13         v.                            )
                                         )
14   CHRISTINA ANTONIA MARTINEZ,         )                 DATE: April 30 2018
                                         )                 TIME: 8:30 a.m.
15               Defendant.              )                 JUDGE: Hon. Lawrence J. O’Neill
                                         )
16   ____________________________________)

17
18          IT IS HEREBY STIPULATED by and between the parties, through their respective
19   counsel, that the sentencing hearing scheduled for January 8, 2018, may be continued to April
20   30, 2018, or the soonest date thereafter convenient to the Court.
21          This continuance is requested to allow the parties additional time to gather relevant
22   information that should be considered by the Court prior to imposing sentence.
23          The parties agree that the delay resulting from this continuance shall be excluded in the
24   interest of justice, for effective defense investigation and preparation, pursuant to 18 U.S.C. §
25   3161(h)(7)(A).
26   //
27   //
28
     Case 1:15-cr-00046-LJO-SKO Document 132 Filed 01/04/18 Page 2 of 2



 1                                                          Respectfully submitted,

 2                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 3
 4   DATED: January 4, 2018                                 /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
 5                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
 6
 7                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
 8
 9   DATED: January 4, 2018                                 /s/ Eric V. Kersten
10                                                          ERIC V. KERSTEN
                                                            Assistant Federal Defender
11                                                          Attorney for Defendant
                                                            CHRISTINA MARTINEZ
12
13                                                   ORDER

14           IT IS SO ORDERED. The sentencing hearing for Christina Martinez is continued to
15   April 30, 2018, at 8:30 a.m.
16
     IT IS SO ORDERED.
17
18       Dated:       January 4, 2018                        /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
19
20
21
22
23
24
25
26
27
28




      Martinez: Stipulation to Continue Sentencing    -2-
